AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Southern District
                                             __________ DistrictofofNew York
                                                                     __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No. 18 CR. 243 (LAK)
                       Andreea Dumitru                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Andreea Dumitru                                                                                               .


Date:          05/07/2019                                                               s/ Diane M. Fischer
                                                                                         Attorney’s signature


                                                                                    Diane M. Fischer (DF0957)
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